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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

UNITED STATES OF AMERICA                       §
                                               §
vs.                                            §     CASE NO. 2:09CR1(5)
                                               §
ARTHUR TREVOR PALMER                           §



             ORDER ADOPTING MAGISTRATE JUDGE’S REPORT AND
                       FINDING DEFENDANT GUILTY

       On this day, the court considered the Findings of Fact and Recommendation of United States

Magistrate Judge Chad Everingham regarding the defendant’s plea of guilty and allocution of the

defendant on a superseding indictment charging the defendant in Count 2 with a violation of 21

U.S.C. § 841(a)(1), Possession with Intent to Distribute or Dispense a Controlled Substance.

Having conducted a proceeding in the form and manner prescribed by Fed. R. Crim. P. 11, the

Magistrate Judge recommends that the court accept the guilty plea of the defendant. No objections

were filed to the Findings of Fact and Recommendation. The court is of the opinion that the

Findings of Fact and Recommendation should be accepted.

       It is accordingly ORDERED that the Findings of Fact and Recommendation of the United

States Magistrate Judge, filed October 5, 2009, are hereby ADOPTED.

       It is further ORDERED that, pursuant to defendant’s plea agreement, the court finds

defendant GUILTY of Count 2 of the superseding indictment in the above-numbered cause.




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      SIGNED this 4th day of January, 2010.



                                        __________________________________________
                                        T. JOHN WARD
                                        UNITED STATES DISTRICT JUDGE




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